     Case 1:20-cv-08924-CM   Document 1199       Filed 05/21/25    Page 1 of 17




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re:

NEW YORK CITY POLICING DURING SUMMER               20 Civ. 8924(CM)(GWG)
2020 DEMONSTRATIONS


               CITY OF NEW YORK’S MEMORANDUM OF LAW
          IN OPPOSITION TO CONSOLIDATED PLAINTIFFS’ MOTION
           FOR AN ORDER COMPELLING THE CITY TO IMPLEMENT
               PARAGRAPH 89(h) OF THE STIPULATED ORDER



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                       Dated May 21, 2025
        Case 1:20-cv-08924-CM                        Document 1199                  Filed 05/21/25               Page 2 of 17




                                                   TABLE OF CONTENTS
                                                                                                                                          Page
TABLE OF AUTHORITIES ....................................................................................................... ii

PRELIMINARY STATEMENT ................................................................................................. 1

BACKGROUND ........................................................................................................................... 2

ARGUMENT ................................................................................................................................. 5

       POINT I:           THE PLAIN LANGUAGE OF THE SETTLEMENT AGREEMENT
                          LIMITS APPLICATION OF PARAGRAPH 89(h) TO MAJOR
                          INCIDENTS ......................................................................................................5

                          A.       “Incident Commander” is a Term of Art Under the Settlement
                                   Agreement ................................................................................................ 7

                          B.       Plaintiffs’ Misinterpret DCPI’s Role ....................................................... 8

                          C.       The Scope of “Red Light Offenses” Only Warrants Special
                                   Treatment At FAAs and Other Major Deployments................................ 9

      POINT II:           ALL MEMBERS OF THE PUBLIC ALREADY RECEIVE THE
                          TYPE OF PROTECTION PLAINTIFFS DEMAND FOR
                          NEWSGATHERING .......................................................................................10

     POINT III:           APPLYING SUBPARAGRAPH 89(h) TO ROUTINE ARRESTS
                          WOULD CONVEY SPECIAL PRIVILEGES ON EVERYONE
                          CLAIMING TO BE A MEMBER OF THE PRESS .......................................11

CONCLUSION ........................................................................................................................... 14




                                                                      i
        Case 1:20-cv-08924-CM                      Document 1199                Filed 05/21/25             Page 3 of 17




                                              TABLE OF AUTHORITIES
                                                                                                                                Page(s)
Cases
CVS Pharmacy, Inc. v. Press Am., Inc.,
  377 F. Supp. 3d 359 (S.D.N.Y. 2019)........................................................................................3

Doe v. Pataki,
   481 F.3d 69 (2d Cir. 2007).........................................................................................................5

Mount Vernon Fire Ins. Co. v. Creative Housing Ltd.,
  88 N.Y.2d 347 (1996) ................................................................................................................5

Reyes v. City of New York,
   No. 23-CV-6369 (JGLC), 2023 U.S. Dist. LEXIS 196602 (S.D.N.Y.)...................................11

United States v. Mizrahi,
   No. 22-CR-650 (JPO), 2024 U.S. Dist. LEXIS 35748 (S.D.N.Y.)..........................................13

W.W.W. Assocs. v. Giancontieri,
   77 N.Y.2d 157, 565 N.Y.S.2d 440, 566 N.E.2d 639 (1990) ......................................................3


Statutes
N.Y. Civ. Rights Law § 79-P .........................................................................................................11

N.Y. Penal Law § 240.20(2) ..........................................................................................................12


Other Authorities
N.Y.C. Charter § 2604(b)(3) ..........................................................................................................13

N.Y.C. Admin. Code § 14-189 ......................................................................................................11

RESTATEMENT 2D OF CONTRACTS, § 203(a).....................................................................................7




                                                                   ii
      Case 1:20-cv-08924-CM             Document 1199         Filed 05/21/25      Page 4 of 17




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 NEW YORK CITY POLICING DURING SUMMER                           20 Civ. 8924(CM)(GWG)
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                    CITY OF NEW YORK’S MEMORANDUM OF LAW
               IN OPPOSITION TO CONSOLIDATED PLAINTIFFS’ MOTION
                FOR AN ORDER COMPELLING THE CITY TO IMPLEMENT
                    PARAGRAPH 89(h) OF THE STIPULATED ORDER

          Defendant City of New York, by its attorney, Muriel Goode-Trufant, Corporation Counsel

of the City of New York, respectfully submits this Memorandum of Law in opposition to the Con-

solidated Plaintiffs’ Motion for an Order Compelling the City to Implement Paragraph 89(h) of the

Stipulated Agreement (ECF Nos. 1193 to 1197). As set forth below, the City asserts that it has

fully implemented the referenced provision of the parties’ Equitable Settlement Agreement, and

that the moving Plaintiffs are seeking an interpretation of that provision that is neither supported

by the language of the agreement nor consistent with the intent of the parties. The City therefore

respectfully requests that the Court enter an order denying Consolidated Plaintiffs’ motion and

granting such other relief as the Court deems appropriate.

                                   PRELIMINARY STATEMENT

          The motion of certain Consolidated Plaintiffs implicates a single provision in the Stipulated

Order Pursuant to Fed. R. Civ. P. 42(a)(2) (ECF Nos. 1099-2 and 1166-1; entered at ECF No. 1167)

(hereinafter “the Settlement Agreement”). That provision, subparagraph 89(h) provides for special

treatment of members of the press in particular circumstances. Consistent with the scope, function,

and understanding of the Settlement Agreement as a whole, the City contends that the “particular

circumstances” are limited to those instances when individuals claiming protection under the Set-

tlement Agreement can reasonably be expected to be participating in the type of First Amendment
      Case 1:20-cv-08924-CM           Document 1199         Filed 05/21/25      Page 5 of 17




Activities that were the focus of this litigation. The Consolidated Plaintiffs, however, unreasona-

bly contend that the disputed provision applies in all circumstances and therefore turns any press

identification card into a “Get Out of Jail Free” card for certain offenses committed in the City of

New York. That position is not supported by the plain language of the Settlement Agreement, the

expectations of the parties, or common sense.

                                         BACKGROUND

       The City assumes the Court’s familiarity with the factual and procedural history these con-

solidated cases and the Settlement Agreement. Only the issues directly relevant to the instant

motion are recounted here.

       The dispute at issue here concerns Plaintiffs in consolidated case Grey, et al. v. City of New

York, et al., No 21 Civ. 6610. That case was brought by five professional journalists who alleged

that, between February and July of 2020, each of them was arrested by members of the New York

City Police Department (NYPD) while documenting police activity in a public place. See gener-

ally Third Amended Complaint (“TAC”) (Grey Dkt. No. 124). The Grey Plaintiffs alleged that

their arrests were the result of the City of New York’s unconstitutional policies that allowed police

officers to interfere with individuals’ constitutional rights to record police activity. Id. In their

prayer for relief, the Grey Plaintiffs requested:

               Injunctive relief (i) enjoining the City of New York, acting through
               the NYPD, from interfering with, targeting, arresting, or using phys-
               ical force against, members of the press and public who are peace-
               fully recording police activity in public places; and (ii) ordering the
               City of New York to develop and implement a comprehensive and
               effective policy of training, supervision, and discipline of NYPD of-
               ficers to protect the First Amendment rights of the press and public
               to observe and record police activity in public places, including ap-
               propriate procedures to test the effectiveness of that policy[.]

TAC at p. 84 (subparagraph “d”).




                                                    2
        Case 1:20-cv-08924-CM         Document 1199          Filed 05/21/25    Page 6 of 17




         The Grey case was consolidated under the caption above by order dated September 27,

2021. See Grey Dkt. Nos. 19 & 25. The Grey Plaintiffs were well represented during the protracted

settlement negotiations that resulted in the Settlement Agreement. See, e.g., Everdell Declaration

(ECF No. 1197) at Exhibits I & J. 1 The Parties, including the Grey Plaintiffs, eventually negotiated

the Settlement Agreement with the shared “goal of an approach to policing that assures the rights

of protesters, journalists and legal observers and uses arrest and force only when necessary and in

compliance with the Constitution of the United States and the Constitution and laws of the State

of New York and the New York City Charter and local laws.” Settlement Agreement at p. 2 (9th

Whereas clause). To accomplish that goal, the Parties agreed to a phased settlement, in which the

first phase would involve NYPD revising its policies and training with input from the Plaintiffs.

The present dispute arises from a single provision of the Settlement Agreement.

         The Settlement Agreement language at issue is the following:

                89. During Phase I (as defined in the Oversight section below)
                    NYPD shall institute policies, protocols, and updates to the Pa-
                    trol Guide and Administrative Guide relating to the NYPD’s in-
                    teractions with members of the press applicable to both FAA2
                    and non-FAA related circumstances, which shall include the
                    following:

                     a. . . .

                                          *      *       *




1
  The City cites to these exhibits submitted by Plaintiffs only for the purpose of demonstrating that
the Grey Plaintiffs were represented during negotiations. The City disputes the admissibility or
relevance of the proffered drafts and communications from the negotiations because “[i]t is well
settled that extrinsic and parol evidence is not admissible to create an ambiguity in a written
agreement which is complete and clear and unambiguous upon its face.” CVS Pharmacy, Inc. v.
Press Am., Inc., 377 F. Supp. 3d 359, 374 (S.D.N.Y. 2019) (quoting W.W.W. Assocs. v.
Giancontieri, 77 N.Y.2d 157, 163, 565 N.Y.S.2d 440, 443, 566 N.E.2d 639, 642 (1990)).
2
    First Amendment Activity. See Settlement Agreement at ¶ 6.


                                                 3
        Case 1:20-cv-08924-CM         Document 1199         Filed 05/21/25       Page 7 of 17




                    h. Where a member of the press is arrested for any Red Light
                       offense(s) and presents a MOME 3 press credential or an of-
                       ficial government-issued press credential from another juris-
                       diction or government agency, process for that arrest shall be
                       approved by the Incident Commander and/or DCPI 4 person-
                       nel at the time of the arrest. If such member of the press is
                       arrested for a C-summons-eligible Red Light offense, the
                       presumption shall be that the arrested member of the press
                       will be issued process at the point of encounter. Such ar-
                       rested member of the press may be removed to an arrest pro-
                       cessing facility or otherwise transported to another location
                       only in those instances where the Incident Commander de-
                       termines that issuing process at the point of encounter would
                       create a health and/or safety risk to officers or any other in-
                       dividual. In the event the member of the press is presenting
                       a government-issued press credential from another jurisdic-
                       tion or government agency, this shall be verified, to the ex-
                       tent possible, at the time of encounter. In a circumstance
                       where the validity of the press credential is unable to be ver-
                       ified on scene, officers shall consider the following as indicia
                       of the credential being valid: the identification contains a
                       name which matches another form of identification, contains
                       a photograph of the individual, details the issuing city or
                       agency, includes the associated media outlet or indicates
                       whether that individual is independent, includes an expira-
                       tion date, or includes a serial or identification number.

While there is no dispute that the bulk of the provisions under paragraph 89 apply globally, regard-

less of context, the question at issue is whether subparagraph 89(h) applies in “both FAA and non-

FAA related circumstances.” Plaintiffs contend that it is a blanket restriction on NYPD’s ability

to arrest any person possessing a press card at any time and in any circumstances when the arrest

is for certain low-level offenses including trespass and disorderly conduct. The City contends that

subparagraph 89(h) can only be logically read to apply at large-scale events where NYPD mobili-

zation would call for the appointment of an “Incident Commander” and members of the DCPI staff

would be expected to be on scene. Moreover, the City contends that reading subparagraph 89(h)


3
    Mayor’s Office of Media Engagement.
4
    Deputy Commissioner of Public Information.


                                                  4
      Case 1:20-cv-08924-CM          Document 1199         Filed 05/21/25     Page 8 of 17




to apply in all circumstances would not only be impossible to implement but would also convey

upon Plaintiffs privileges above and beyond those necessary to protect their rights, and to which

they are not entitled, and which the City did not agree to grant them.

                           ARGUMENT IN OPPOSITION TO
                         CONSOLIDATED PLAINTIFFS’ MOTION

       This Court has expressly retained jurisdiction to enforce the terms of the Settlement Agree-

ment. See Order dated April 17, 2024 (ECF No. 1167). The City concurs with Plaintiffs that the

Settlement Agreement is a contractually binding agreement between the parties, and “ordinary

rules of contract interpretation are generally applicable.” Consolidated Plaintiffs’ Memorandum

of Law (ECF No. 1194) (“Ps.’ Mem.”) at 9 (quoting Doe v. Pataki, 481 F.3d 69, 75 (2d Cir. 2007)).

However, the City contends that those “ordinary rules” only support a reading of paragraph 89 that

limits the applicability of subpart (h) to situations where there would be an “Incident Commander”

and an expectation that DCPI would be directly involved. See Mount Vernon Fire Ins. Co. v. Cre-

ative Housing Ltd., 88 N.Y.2d 347, 352 (1996) (“provisions in a contract are not ambiguous merely

because the parties interpret them differently[.]”). Moreover, the protections for legitimate news-

gathering that Plaintiffs purport to seek are already encompassed in state and local statutes, and

new and existing NYPD policies. Finally, extending the special treatment of the press outlined in

the disputed paragraph to all other contexts would convey a benefit upon Plaintiffs that does not

advance the stated goals of the litigation and the Settlement Agreement and is not consistent with

the City’s intent and understanding when it entered into the Settlement Agreement.

                                POINT I
          THE PLAIN LANGUAGE OF THE SETTLEMENT AGREEMENT
       LIMITS APPLICATION OF PARAGRAPH 89(h) TO MAJOR INCIDENTS

       Plaintiffs rely heavily on the introductory language of paragraph 89, which states that the

policy and training updates contemplated by the parties will be “applicable to both FAA and non-



                                                 5
       Case 1:20-cv-08924-CM          Document 1199         Filed 05/21/25      Page 9 of 17




FAA related circumstances. . . .” Settlement Agreement ¶ 89. Following that language are nine

subparagraphs setting forth specific changes to policy, procedure, and training specific to “NYPD’s

interactions with members of the press. . . .” Id. at ¶¶ 89 & 89(a)–(i). The parties dispute the scope

of only one of those nine subparagraphs, and the City has already implemented the general reforms

specified in the other eight. The City contends that the plain language of subparagraph 89(h) limits

its applicability to large-scale events where NYPD engages in a major deployment and journalists

on scene are entitled to a strong presumption that they are engaged in constitutionally protected

newsgathering. Attempting to apply subparagraph 89(h) outside the context of FAAs or other

large-scale deployments would be impossible and would be far beyond what the parties bargained

for.

        Three portions of the disputed paragraph clearly limit its applicability to large-scale de-

ployments. First, the reference to “Incident Commander” only makes sense in the context of large-

scale deployments generally and—in the context of the Settlement Agreement—to FAAs occurring

under the new policies and practices. Second, the assumption that DCPI personnel would be avail-

able to mediate disputes between officers and putative members of the press is only valid in situa-

tions where DCPI would ordinarily be deployed to the scene, which only occurs during large-scale

mobilizations. Finally, while not completely dispositive, the reference to “Red Light Offenses”—

a term expressly defined in the context of policing FAAs—strongly indicates the Parties’ intent to

limit subparagraph 89(h) to contexts where officers are already expected to employ the “Red

Light/Green Light” protocol for arrests. Taken together, these aspects of subparagraph 89(h) leave

little doubt that it was written to encompass only certain arrests in specific circumstances and was

not meant as a blanket immunity allowing credentialed journalists to avoid all arrests for certain

low-level offenses regardless of where or when they occur.




                                                  6
     Case 1:20-cv-08924-CM           Document 1199         Filed 05/21/25      Page 10 of 17




       A.      “Incident Commander” is a Term of Art Under the Settlement Agreement

       The Settlement Agreement does not explicitly define the term “Incident Commander”, but

it uses the term nearly thirty times, and in every instance it is clearly referencing the Incident

Commander at an FAA. See, e.g., Settlement Agreement at ¶ 23 (“NYPD will continue to desig-

nate an Incident Commander at each FAA. . .”); id. at ¶ 24 (“NYPD shall document the identity of

the Incident Commander in the After-Action Report [created to document FAAs].”); id. at ¶ 27

(“Unless infeasible under the specific circumstances of the FAA, changes in Incident Commander

must be documented. . .”); and id. at ¶¶ 43, 50, & 58–59 (Incident Commander’s involvement re-

quired in all decisions to escalate FAA response to higher tiers). Read in the context of the Settle-

ment Agreement, the reference to “Incident Commander” in subparagraph 89(h) can only be un-

derstood to mean the designated Incident Commander at an FAA.

       During the meet-and-confer process, Plaintiffs pointed out that the Patrol Guide makes

other references to “Incident Commander” outside of the context of FAAs. See Everdell Decl.

Exhibit G at 1. But those other references merely support the City’s position that subparagraph

89(h) is only meant to apply in situations that call for a large-scale deployment by NYPD. See id.

(referencing P.G. 212-17 (incident commander at “scenes of critical situations on New York City

Transit”), P.G. 212-101 (scene of any “chemical, biological, radiological, nuclear (CRBN), haz-

ardous material incidents”, P.G. 213-02 (“emergency incidents”) and P.G. 213-03 (“unusual disor-

der/emergency incident.”)). Since the designation of an “Incident Commander” only occurs in

large deployments, the Plaintiffs’ proposed reading that requires an “Incident Commander” to ap-

prove certain low-level arrests during routine citizen-police encounters would render subparagraph

89(h) nonsensical and impossible to implement. Thus, the City’s interpretation of the disputed

language should be sustained by the Court.           See Restat. 2d of Contracts, § 203(a) (“an




                                                 7
       Case 1:20-cv-08924-CM           Document 1199         Filed 05/21/25      Page 11 of 17




interpretation which gives a reasonable, lawful, and effective meaning to all the terms is preferred

to an interpretation that leaves a part unreasonable, unlawful, or of no effect.”).

         B.     Plaintiffs’ Misinterpret DCPI’s Role

         The disputed provision’s reference to DCPI similarly limits its practical applicability to

large-scale deployments where DCPI would reasonably be expected to have personnel on scene.

         The Office of the DCPI is “responsible for communication, reputational management, and

facilitating citywide news coverage for members of the press.” Public Information, New York City

Police Department (hereinafter “DCPI Webpage”). 5 DCPI personnel “are available [by telephone]

24 hours a day, seven days a week, to assist members of the media with stories, breaking news, or

other inquiries they may have.” Id. (emphasis added). DCPI personnel only respond in person “to

events . . . that generate a large media presence such as major crime scenes, parades, demonstra-

tions and disasters. . . .” Id. (emphasis added). Plaintiffs cite to identical language in a note to

Patrol Guide section 212-49 to argue that DCPI is already involved with all arrests involving mem-

bers of the media. See Ps.’ Mem. at 12. But Plaintiffs’ reading of that language overemphasizes

or misstates DCPI’s role.

         While it is true that police procedure calls for notification of DCPI when there is an incident

involving members of the press, that notification is not expected to occur in real-time while officers

on the ground are making split-second decisions on whether to exercise their police powers. See

Declaration of Inspector Aaron Edwards (“Edwards Decl.”) at ¶¶ 3–8. 6 Rather, the purpose of

notifying DCPI of routine incidents, such as assaults on reporters or low-level arrests involving

members of the media, is to facilitate DCPI’s mission of “reputational management” and assist it


5
 https://www.nyc.gov/site/nypd/bureaus/administrative/public-information.page (visited May
16, 2025)
6
    Inspector Edwards’s Declaration will be filed contemporaneously with this memorandum.


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     Case 1:20-cv-08924-CM           Document 1199         Filed 05/21/25       Page 12 of 17




with “facilitating citywide news coverage.” DCPI Webpage. The DCPI personnel available by

telephone “24 hours a day” are not trained, nor expected, to participate in arrest decisions by mem-

bers of service in the field. See Edwards Decl. at ¶¶ 3–8. Thus, subparagraph 89(h)’s allowance

for DCPI approval “at the time of arrest” is clearly meant to encompass those situations where

DCPI personnel would ordinarily deploy in the field, i.e. at “events . . . that generate a large media

presence such a major crime scenes, parades, demonstrations and disasters. . . .” DCPI Webpage;

see also Edwards Decl. at ¶ 4.

       It would be unrealistic, and likely impossible, to require that regular line officers consult

with DCPI in every instance where they are making an arrest for a low-level offense and the ar-

restee claims protections afforded to members of the press. Requiring officers to make a fact

determination on the validity of a proffered press pass makes sense at large-scale events where it

is assumed that members of the press are present for the purpose of newsgathering; the same cannot

be said for situations where an individual is attempting to avoid arrest for a low-level offense that

occurs in other contexts. 7

       C.      The Scope of “Red Light Offenses” Only Warrants Special Treatment At
               FAAs and Other Major Deployments

       Plaintiffs over-emphasize the City’s arguments concerning the scope of “Red Light of-

fenses”. See Ps.’ Mem. at 11. At the same time, Plaintiffs seek to extend the applicability of the

“Red Light” terminology too far when they argue that FAAs are not specifically mentioned in

paragraph 29 of the Settlement Agreement, where the term “Red Light offenses” is defined. Id.

While it is true that paragraph 29 does not, itself, reference FAAs, it appears under the heading



7
 The difficulty in validating a claim of press membership is demonstrated by the very language
of subparagraph 89(h) where it discusses the “indicia” of the putative validity of a press pass
presented to an officer.


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     Case 1:20-cv-08924-CM           Document 1199         Filed 05/21/25       Page 13 of 17




“Policies and Procedures Governing Arrests at FAAs — The Red Light/Green Light Policy and

Mass Arrest Processing”. Settlement Agreement at p.6 (heading “B”). Moreover, “Red Light

offenses” “are those offenses that require the approval of someone at the rank of Captain or above

before any officer may make an authorized arrest.” Settlement Agreement at ¶ 28. Reading that

section of the Settlement Agreement in context, the “Red Light/Green Light” paradigm can have

little meaning outside the scope of FAAs where the approval of a “Captain or above” would be

readily obtainable from a supervisor on the scene. In the routine situations faced by NYPD officers

every day, it would be impractical or impossible to seek the approval of a Captain or higher rank

every time an officer has probable cause to arrest someone for certain low-level offenses.

       Taken together, the references to “Incident Commander”, “DCPI personnel”, and “Red

Light offense[s]” in subparagraph 89(h) clearly limit the applicability of that provision to the con-

text of FAAs and other large-scale deployments where those concepts make sense.

                                    POINT II
                           ALL MEMBERS OF THE PUBLIC
                    ALREADY RECEIVE THE TYPE OF PROTECTION
                     PLAINTIFFS DEMAND FOR NEWSGATHERING

       Plaintiffs rely heavily on the allegations leveled by Plaintiff Amir Alfiky to argue that the

Settlement Agreement was clearly meant to apply outside the scope of FAAs. Ps.’ Mem. at 15.

Mr. Alfiky alleged that he was arrested in February 2020 (prior to the onset of the protests at issue)

and charged with disorderly conduct (a “Red Light” offense) for “filming the arrest of an appar-

ently mentally disturbed man from across the street.” Ps.’ Mem. at 4 (citing Grey Third Amended

Complaint at ¶ 86–96). But even if all of Mr. Alfiky’s allegations are taken as true, the circum-

stances of his arrest do not justify or warrant a widescale change in NYPD policy—either at time

the Settlement Agreement was negotiated or presently—because the alleged conduct was and is

already contrary to law and NYPD policy.



                                                 10
     Case 1:20-cv-08924-CM            Document 1199         Filed 05/21/25      Page 14 of 17




       The rights of citizens to record and document police activity in New York City is explicitly

protected by state and local statute. See N.Y. Civ. Rights Law § 79-P 8 (N.Y. Sen. Bill 2019-

S3253A, a/k/a “New Yorker’s right to monitor act”); N.Y.C. Admin. Code § 14-189 (Right to rec-

ord police activities). The rights codified in those statutes are fully reflected in NYPD’s existing

policy. See, e.g., Reyes v. City of New York, No. 23-CV-6369 (JGLC), 2023 U.S. Dist. LEXIS

196602, at *33–34 (S.D.N.Y.) (quoting NYPD Legal Bureau Bulletin). Moreover, insofar as Mr.

Alfiky alleges he was arrested without probable cause, such conduct has long been prohibited by

the Fourth Amendment. Those existing protections were expressly discussed during the settlement

negotiations and incorporated into the other subparts of paragraph 89. See, e.g., Settlement Agree-

ment at ¶¶ 89(a) & (b); see also Settlement Agreement at ¶ 59 (“Nothing in this Agreement shall

diminish the obligation for all arrests for any offense to be justified by individualized probable

cause based on the actions of the individuals arrested.”). Given that law, policy, and the other

portions of the Settlement Agreement already operate to prevent wrongful arrests similar to what

Mr. Alfiky alleged, there is no reason to believe that the parties also intended to extend the extraor-

dinary procedures embodied in subparagraph 89(h) to non-FAA situations for that purpose.

                                POINT III
                     APPLYING SUBPARAGRAPH 89(h) TO
            ROUTINE ARRESTS WOULD CONVEY SPECIAL PRIVILEGES
            ON EVERYONE CLAIMING TO BE A MEMBER OF THE PRESS

       Plaintiffs reading of the disputed language would require a significant—and unwar-

ranted—change in how police officers make routine arrest decisions in everyday situations. In

fact, it would give everyone claiming to be a “member of the press” special privileges that are not



8
 N.B.: there are two provisions of New York’s Civil Rights Law numbered “79-P”. The relevant
section is available here (https://www.nysenate.gov/legislation/laws/CVR/79-P) (visited May 20,
2025).


                                                  11
        Case 1:20-cv-08924-CM         Document 1199        Filed 05/21/25      Page 15 of 17




extended to other members of the public, even when the self-declared “journalist” is not engaged

in newsgathering or other First Amendment activities. Given the sweeping expansion of these

types of activities through the advent of smartphones and the internet, Plaintiffs position would

practically eliminate the ability of officers to make routine arrests for various low-level offenses

that the New York State Legislature has included in the Penal Code.

          The special consideration that Plaintiffs are seeking for putative members of the “news

media” are only reasonable in situations where there is a presumption that those members are

engaged in First Amendment activities that warrant special handling by the police. Moreover, that

consideration is not aimed at granting special privileges to members of the media—rather, it is

aimed at protecting their First Amendment rights to gather news. Extending the special privilege—

as Plaintiffs demand—to situations where the connection to newsgathering is tenuous would not

materially advance the rights protected by the First Amendment, nor serve any other legitimate

purpose.

          Consider a scenario where an officer has probable cause to arrest a drunk and disorderly

individual under Penal Law § 240.20(2) (unreasonable noise). 9 Or a situation where officers re-

spond to a domestic incident where the subject is trespassing on private property. 10 Under Plain-

tiffs’ reading, as soon as the person to be arrested produces any vaguely authentic press identifica-

tion the officer would have to: (1) attempt to identify an “Incident Commander” where there is

none; (2) seek DCPI input that DCPI personnel on telephone-duty are not trained to give; and (3)

delay placing the arrestee in custody until they receive the unobtainable authorization. Such a

situation would not be tenable, nor would it advance any of the goals of the Settlement Agreement.



9
    Disorderly Conduct is one of the “Red Light offenses.” See Settlement Agreement at ¶ 29.
10
     Trespass is also a “Red Light offense.” Id.


                                                   12
        Case 1:20-cv-08924-CM          Document 1199         Filed 05/21/25      Page 16 of 17




          It is axiomatic that “all persons are equal before the law”. See, e.g., United States v. Miz-

rahi, No. 22-CR-650 (JPO), 2024 U.S. Dist. LEXIS 35748, at *8 (S.D.N.Y.) (standard jury instruc-

tion). Yet, Plaintiffs demand that their “members” be granted special consideration in situations

where none is warranted. The City of New York would not have agreed to such a demand had it

been explicitly laid out in this fashion in the Settlement Agreement, and it does not read the lan-

guage of subparagraph 89(h) to convey that extraordinary benefit on select members of the public

who self-identify as journalists. Many other groups might attempt to avoid arrest by demanding

special privileges based on their occupation. In those situations, there would be no legal basis for

the demand, and even the attempt could very well violate other provisions of law. For example, if

the undersigned Assistant Corporation Counsel was to produce his Law Department identification

and demand special treatment during an arrest it would constitute prohibited conduct warranting

dismissal from public service. See N.Y.C. Charter § 2604(b)(3) (“No public servant shall use or

attempt to use his or her position as a public servant to obtain any . . . privilege or other private or

personal advantage. . . .”).

          Reading the Settlement Agreement the way Plaintiffs demand would empower every self-

identified “journalist” 11 to consider themselves immune to arrest for the low-level offenses defined

as “Red Light offenses” in the Settlement Agreement, including riot, trespass, disorderly conduct,

and criminal mischief. See Settlement Agreement at ¶ 29. There is no way to adopt Plaintiffs’

proposed reading of the Settlement Agreement that would prevent individuals from abusing the

special privileges demanded in situations where those privileges serve no legitimate interest. At

the same time, accepting the City’s reading of subparagraph 89(h) will not materially affect




11
     See supra at n.7.


                                                   13
      Case 1:20-cv-08924-CM          Document 1199          Filed 05/21/25   Page 17 of 17




legitimate newsgathering activities by anyone, whether or not they consider themselves official

“members of the press.”

                                         CONCLUSION

         For the foregoing reasons, Plaintiffs’ Motion to “enforce” subparagraph 89(h) of the Set-

tlement Agreement should be denied. The City has already implemented the plain terms of that

provision in its proposed revisions to training and policy and never agreed to the more sweeping

and nonsensical changes demanded by Plaintiffs. Accepting the City’s reasonable interpretation

of the plain language of the Settlement Agreement will accomplish the bargained-for results of the

Settlement Agreement and will not deprive Plaintiffs of any of the relief that was approved by the

Court.

                                       CERTIFICATION

         Pursuant to the Court’s Individual Practices & Procedures § V.D the foregoing Memoran-

dum of Law is within the 25-page limit for opposition briefs. Further, in accordance with Local

Civil Rule 7.1 of the Local Rules of the United States District Courts for the Southern and Eastern

Districts of New York, I hereby certify that the total number of words in the foregoing Memoran-

dum of Law, inclusive of point headings and footnotes, is 4,242. I have relied on the word count

function of Microsoft Word to prepare this certification.

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                                                14
